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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA
 9   ALLEN TAYLOR,                                        Case No. 3:19-cv-05086 BHS

10                          Plaintiff,                    DEFENDANT ALORE, LLC’S
                                                          OPPOSITION TO PLAINTIFF’S
11          v.                                            MOTION FOR LEAVE TO AMEND
                                                          COMPLAINT
12   ALORE, LLC,

13                          Defendant.

14

15          Plaintiff Allen Taylor’s (“Plaintiff”) motion for leave to amend his Complaint should be
16   denied for the same reason that Count II of his original Complaint should be dismissed:1 the two
17   causes of action sought to be added are inapplicable to the at-issue facts, and the amendment is a
18   transparent attempt to improperly seek attorney’s fees and unreasonably multiply the
19   proceedings in violation of 28 U.S.C. § 1927. It is now evident that Plaintiff and his counsel used
20   the parties’ informal early exchange of information to prolong the litigation and bolster their plea
21   for attorney’s fees, given that Plaintiff has provided zero evidence to support the claimed number
22   of calls, as detailed in Defendant’s portions of the Joint Status Report filed with the Court on
23   May 28, 2019. Docket No. 19, at 3:9–4:15. Plaintiff’s Motion to Amend fails to identify a single
24   “new fact” learned during the parties’ informal exchange of information—because no new facts
25
     1
26    Alore’s motion for judgment on the pleadings as to Count II of Plaintiff’s Complaint under the
     Washington Consumer Protection Act is filed concurrently.
27
     DEFENDANT ALORE, LLC’S OPPOSITION TO             1              VAN KAMPEN & CROWE PLLC
     PLAINTIFF’S MOTION FOR LEAVE TO                                   1001 Fourth Avenue, Suite 4050
     AMEND COMPLAINT                                                   Seattle, Washington 98154-1000
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 1   were learned, other than that Plaintiff’s allegation of 150 calls was false. Accordingly, Plaintiff

 2   fails to satisfy the requirements for amendment under Rule 15(a)(2).

 3   I.     BACKGROUND
 4          Alore is a health care supplier that provides prescription medical supplies, such as

 5   diabetes testing products, to patients. See Compl. ¶¶ 8, 14, 24. Plaintiff, who admits that he was

 6   an Alore customer and never had to pay for any Alore health care-related products, is now suing

 7   Alore with claims that he received unsolicited, automated calls. Docket No. 1, Compl. ¶¶ 13–27.

 8   Plaintiff first claimed, without any evidence, that Alore contacted him 150 times without his

 9   prior express consent, but has since reduced that alleged number to 50. Compare Compl. ¶ 23

10   with Docket No. 21-2, Proposed Am. Compl. (“FAC”) ¶ 30; see also Docket No. 21, Pl.’s Mot.

11   for Leave to Amend Compl., at 2:9–14. Based on these allegedly unconsented-to calls, Plaintiff

12   initially asserted three counts against Alore: (1) Violation of the TCPA, (2) Violation of the

13   Washington Consumer Protection Act, and (3) Intrusion Upon Seclusion. Compl. ¶¶ 28–38.

14          In his proposed First Amended Complaint, Plaintiff seeks to add new counts against

15   Alore for violation of RCW 80.36.400 (Washington Dialing and Announcing Device Act, or

16   “WADAD”), and RCW 80.36.390 (Washington Do Not Call Statute, or “WDNC”). Plaintiff

17   claims that “through informal exchange of information, [he] has been made aware of additional

18   new facts,” but this is false; nothing provided by Alore during the parties’ informal discovery

19   exchange was basis for new claims. Plaintiff could have easily pleaded these “new facts” in his

20   original Complaint, based on facts already alleged and within his knowledge, that Alore

21   “routinely called [him] using a prerecorded telemarketing message.” Pl.’s Mot. for Leave to

22   Amend Compl., at 2:15–19. More importantly, neither of these proposed causes of action apply

23   to Plaintiff’s factual allegations against Alore, yet are sought to be added here as additional

24   transparent threats to seek attorney’s fees and needlessly drive up the costs of litigation.

25          ///

26          ///
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     DEFENDANT ALORE, LLC’S OPPOSITION TO              2              VAN KAMPEN & CROWE PLLC
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 1   II.    LEGAL STANDARD
 2          A.      Leave to Amend Pleadings
 3          Under Rule 15 of the Federal Rules of Civil Procedure, a “court should freely give leave

 4   [to amend pleadings] when justice so requires.” FED. R. CIV. P. 15(a)(2). In assessing the

 5   propriety of leave to amend, courts consider five factors: (1) bad faith, (2) undue delay, (3)

 6   prejudice to the opposing party, (4) futility of amendment, and (5) whether the plaintiff has

 7   previously amended the complaint. U.S. v. Corinthian Colls., 655 F.3d 984, 995 (9th Cir. 2011).

 8   The party opposing amendment bears the burden of showing any permissible reasons for denying

 9   another party’s motion to amend. Richardson v. U.S., 841 F.2d 993, 999 (9th Cir. 1988).

10          B.      Federal Court Interpretation of Washington Law
11          Under RCW 80.36.400 (WADAD), a “commercial solicitation” is defined as “the

12   unsolicited initiation of a telephone conversation for the purpose of encouraging a person to

13   purchase property, goods, or services.” Under RCW 80.36.390 (WDNC), a “telephonic

14   solicitation” is defined as, with four exclusions, “the unsolicited initiation of a telephone call by

15   a commercial or nonprofit company or organization to a residential telephone customer and

16   conversation for the purpose of encouraging a person to purchase property, goods, or services or

17   soliciting donations of money, property, goods, or services.”

18          When interpreting provisions of Washington law that use text “substantially similar” to

19   their federal counterparts, and for which there is no guidance from Washington courts, a federal

20   court should look to federal law for guidance. See Chesbro v. Best Buy Stores, L.P., 705 F.3d 913,

21   919 (9th Cir. 2012). In Chesbro, the Ninth Circuit recognized that there was no guidance from

22   Washington courts2 regarding how to interpret the terms “commercial solicitation” under RCW

23   80.36.400 (WADAD) and “telephone solicitation” under RCW 80.36.390 (WDNC), also noted

24   that the terms’ statutory definitions were “nearly identical.” Id. As a result, it looked to federal
25
     2
26    Based on Alore’s research, since Chesbro was decided in 2012, there still has not been
     guidance from Washington appellate courts regarding how to interpret these terms.
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     DEFENDANT ALORE, LLC’S OPPOSITION TO              3               VAN KAMPEN & CROWE PLLC
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 1   authorities’ interpretation of what constitutes telemarketing, including the Federal

 2   Communications Commission’s (“FCC”) orders and regulations promulgated under the TCPA,

 3   for guidance. Id. at 917–19. The Court should do the same here.

 4   III.   ARGUMENT
 5          A.       Plaintiff’s Proposed Amendments Will be Futile.
 6                   1.     Medical Supply/Prescription Renewal Requests Are Not Solicitations.
 7          As Plaintiff notes, “[a] proposed amendment to a complaint is futile only if no set of facts

 8   can be proved under the amendment that would constitute a valid and sufficient claim.” McEuen

 9   v. Riverview Bancorp, Inc., No. C12-5996 RJB, 2013 WL 646045, at *3 (W.D. Wash. Feb. 21.

10   2013). Because all calls by Alore to Plaintiff were medical supply and prescription refill requests,

11   neither of which are telephonic solicitations as a matter of law, there is no set of facts that

12   Plaintiff could prove under his proposed FAC that would support a claim under RCW 80.36.400

13   (WADAD) or 80.36.390 (WDNC), and thus amendment would be futile.

14          Under its rulemaking authority granted to it by Congress, the FCC determined that calls

15   subject to the Health Insurance Portability and Accountability Act (“HIPAA”), including medical

16   supply renewal requests, “are intended to communicate health care-related information rather

17   than to offer property, goods, or services and conclude[d] that such calls are not unsolicited
18   advertisements.” Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, CG
19   Docket No. 02-278, Report and Order, 27 FCC Rcd 1830, 1854 ¶ 57, 1855 ¶ 63 (2012)

20   (emphasis added) (“2012 TCPA Order”); see Jackson v. Safeway, Inc., No. 15-cv-04419-JSC,

21   2016 WL 5907917, at *6 (N.D. Cal. Oct. 11, 2016) (citing the 2012 TCPA Order to find that

22   immunization reminders, such as flu shot reminder calls, are not telemarketing); Latner v. Mount

23   Sinai Health Sys., Inc., No. 16 Civ. 683 (AKH), 2016 WL 10571897, at *3 (S.D.N.Y. Dec. 14,

24   2016) (same).

25          Under the HIPAA Privacy Rule, the term “health care” includes “care, services, or

26   supplies related to the health of an individual,” and includes (1) preventive, diagnostic, or
27
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 1   maintenance care, and (2) “[s]ale or dispensing of a drug, device, equipment, or other item in

 2   accordance with a prescription.” 45 C.F.R. § 160.103 (emphasis added). Further, health care

 3   communications, such as refill reminders, are not “marketing” under HIPAA; in fact, HIPAA

 4   provides many exclusions from the “marketing” definition because treatment of individuals and

 5   related activities often necessarily involves promotion of health care products and services. See

 6   45 C.F.R. § 164.501. This determination that health care-related calls are not telemarketing as a

 7   matter of law, and thus also not telephonic solicitations,3 includes all calls from Alore alleged by

 8   Plaintiff because they all relate to medical supply and prescription renewal requests for diabetic

 9   test strips covered by Medicare. See, e.g., FAC ¶ 12, 15–16, 31 (“This is Alore pharmacy. If you

10   are ready to reorder your supplies . . .” (emphasis added)).

11                  2.      Plaintiff’s Fails to State a WADAD Claim.
12          Count IV of Plaintiff’s proposed FAC alleges that Alore violated WADAD, RCW

13   80.36.400. Specifically, Plaintiff claims that Alore violated WADAD subsection (2), which

14   states, “No person may use an automatic dialing and announcing device for purposes of

15   commercial solicitation. This section applies to all commercial solicitation intended to be

16   received by telephone customers within the state.” An “automatic dialing and announcing device”

17   is defined as “a device which automatically dials telephone numbers and plays a recorded

18   message once a connection is made.” RCW 80.36.400(1)(a). “Commercial solicitation” is “the

19   unsolicited initiation of a telephone conversation for the purpose of encouraging a person to

20   purchase property, goods, or services.” RCW 80.36.400(1)(b) (emphasis added). Any call that

21   does not result in a “conversation,” such as a hang-up, disconnection, or a call that “simply

22   provide[s] information,” is necessarily excluded from the “commercial solicitation” definition.

23   See Cubbage v. Talbots, Inc., No. C09-91BHS, 2010 WL 2710628, at *5 (W.D. Wash. July 7,

24
     3
25     Under federal law, the definition of “telemarketing” and “telephone solicitation” are nearly
     identical, except that the “solicitation” definition adds exceptions relating to the parties’
26   relationship. 47 C.F.R. § 64.12000(f)(12), (f)(14). In other words, a telephone solicitation
     necessarily is telemarketing; if a call is not telemarketing, it cannot be a telephone solicitation.
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 1   2010) (finding that “the mere transmittal of a recorded message is not a conversation” under

 2   WADAD).4

 3          As previously noted, Plaintiff cannot state a WADAD claim as to any of Alore’s calls,

 4   which do not qualify as commercial solicitations. Because Washington courts have not yet

 5   weighed in regarding whether a health care-related call constitutes a commercial solicitation

 6   under WADAD, courts within the Ninth Circuit should look to federal law for guidance. See

 7   Chesbro, 705 F.3d at 919. Federal law is unambiguous in its determination that health care-

 8   related calls, such as those Plaintiff alleges came from Alore, are not solicitations. Plaintiff thus

 9   cannot state a claim under WADAD, and his motion to amend to add this count should be denied.

10                  3. Plaintiff’s Fails to State a WDNC Claim.
11          Count V of Plaintiff’s proposed FAC alleges that Alore violated WDNC, RCW 80.36.390.

12   WDNC restricts companies from making telephonic solicitations for one year after a “do not call”

13   request from the called party. RCW 80.36.390(3). For the same reason that Plaintiff’s proposed

14   WADAD claim fails—namely, that health care-related calls do not qualify as solicitations—

15   Plaintiff’s proposed WDNC claim also fails, as non-solicitations are outside the ambit of WDNC.

16   Like WADAD, WDNC also requires that a “conversation” occur, and thus the majority of

17   Plaintiff’s alleged calls are excluded for that reason as well. RCW 80.36.390(1); FAC ¶ 31; see

18   Kalmbach v. Nat’l Rifle Ass’n of Am., No. C17-399-RSM, 2017 WL 3172836, at *4–5 (W.D.

19   Wash. July 26, 2017) (dismissing the plaintiff’s WDNC claim because she did not allege a

20   conversation took place in any call).

21          Uniquely, WDNC’s definition of “telephone solicitation” also requires that the call be

22   made to “a residential telephone customer,” which further invalidates Plaintiff’s attempt to add

23   this cause of action. RCW 80.36.390(1). Plaintiff does not allege that any calls went to his

24
     4
25    Plaintiff alleges that “[m]ost calls made by Alore were followed by prerecorded voicemail
     messages,” which necessarily means that a conversation did not occur, and thus any such call is
26   not actionable under WADAD. FAC ¶ 31. Plaintiff’s claim for statutory damages of $500.00 “for
     every prerecorded call” is also not supported by the plain terms of the statute. See FAC ¶ 54.
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 1   residential telephone line (a.k.a. a landline), but rather to his cellular telephone, and thus WDNC

 2   does not apply. FAC ¶¶ 13, 19, 28, 30–31, 34, 37. To the extent that Plaintiff contends that his

 3   cellular telephone is a “residential telephone,” there is no Washington case law supporting such a

 4   position, and federal law—including the TCPA, under which Plaintiff also asserts a claim—

 5   delineates between the two. Compare 47 U.S.C. § 227(b)(1)(A)(iii) (restricting calls made to

 6   “cellular telephone service”) with 47 U.S.C. § 227(b)(1)(B) (restricting calls made to “residential

 7   telephone line”); see Breslow v. Wells Fargo Bank, 857 F. Supp. 2d 1316, 1320 (S.D. Fla. 2012)

 8   (“Practical realities support a distinction between residential and cellular lines.”), aff’d, 755 F.3d

 9   1265 (11th Cir. 2014).

10          If a cellular telephone qualified as a residential telephone line, there would be no need to

11   distinguish between the two. See, e.g., Cunningham v. Carribean [sic] Cruise Lines, Inc., No. 15-

12   62580-CIV, 2016 WL 7494871, at *2 (S.D. Fla. Dec. 29, 2016) (“While Plaintiff argues that his

13   cellular phone serves as both a mobile and residential line, the Eleventh Circuit distinguishes

14   residential land line telephone numbers from cell-phone numbers. . . . [T]he Court finds

15   Plaintiff’s assertion that a cellular phone can be converted into a residential phone unavailing.”);

16   Sepehry-Fard v. Dep’t Stores Nat. Bank, 15 F. Supp. 3d 984, 987 (N.D. Cal. 2014) (dismissing

17   complaint in part because the plaintiff did not distinguish between calls to his cell phone or his

18   residential line); Iniguez v. The CBE Grp., 969 F. Supp. 2d 1241, 1249 (E.D. Cal. 2013) (“[T]he

19   TCPA makes a clear distinction between the provisions that apply to residential lines and those

20   that apply to numbers assigned to a cellular telephone service.”). The Court should not indulge

21   Plaintiff’s futile attempt to run up attorney’s fees with these baseless additional causes of action.

22          B.      Plaintiff Demonstrated Bad Faith and Undue Delay.
23          In addition to the futility of amendment, Plaintiff’s motion for leave should be denied due

24   to bad faith and undue delay. Were it not for Plaintiff’s demanding attorney’s fees to which he is

25   not legally entitled, this case would almost certainly have resolved already. See Docket No. 19,

26   Joint [Rule 26(f)] Status Report & Disc. Plan, at 6:6–9 (In Plaintiff’s own words, his settlement
27
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 1   position contends that “Defendant has also refused to consider Plaintiff’s state law claims,

 2   including Plaintiff’s available attorneys’ fees during settlement discussions, thereby rendering

 3   settlement impossible at this early juncture.”). To date, Plaintiff has wildly exaggerated the

 4   volume of calls made by Alore, refused to acknowledge the legal limitations of his claims for

 5   attorney’s fees, and instead sought to incur additional fees through unnecessary motion practice

 6   including this proposed amendment and a threatened motion to strike Alore’s affirmative

 7   defenses. This conduct should not be encouraged, and thus Plaintiff’s motion for leave to amend

 8   his Complaint should be denied.

 9   IV.    CONCLUSION
10          For the foregoing reasons, Plaintiff’s motion for leave to amend should be denied.

11   Alternatively, should the Court permit leave to amend, it should condition that amendment on

12   Plaintiff omitting his improper Count II and his proposed Counts IV and V.

13                                    Dated this 24th day of June, 2019

14                                                 Respectfully submitted,
15

16
                                                   /s/   David E. Crowe
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 1                                             Declaration of Service

 2           I hereby certify that on this day, I electronically filed the foregoing with the Clerk of the Court
     using the CM/ECF system, which will send notification of such filing to the following:
 3

 4           Dawn M. McCraw
             Price Law Group, APC
 5           8245 N. 85th Way
             Scottsdale, Arizona 85258
 6           Phone: (818) 600-5585
             Email: dawn@pricelawgroup.com
 7           Attorneys for Plaintiff
 8
                           Signed at Seattle, Washington this 24th day of June, 2019.
 9
                                                        s/ David E. Crowe
10                                                      David E. Crowe
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